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ASHEVILLE, N. ¢,

UNITED STATES DISTRICT COURT APR 20 2006
WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION U.S. Dee RCT COURT
IST. OF N. Cc.

UNITED STATES OF AMERICA DOCKET NO. 1:06CRO09

)
)
v. ) PLEA AGREEMENT
)
DONALD G. FARROW )

NOW COMES the United States of America, by and through Gretchen C. F. Shappert,
United States Attorney for the Western District of North Carolina, and the defendant, DONALD G.
FARROW, in person and through counsel, PETER C. ANDERSON, and respectfully inform the
Court that they have reached the following agreement:

I. Plea

| . lL. The defendant agrees to enter a voluntary plea of guilty to Count One as set forth in
the Bill of Information, and admits to being in fact guilty as charged in that Count.

Il. Sentence —

2. The defendant is aware that the statutory maximum sentences for this count is as
follows:

Count One: a $250,000 fine and no more than five years imprisonment, or both, and
no more than three years supervised release.

 

3. The defendant understands that supervised release is a term of supervision that runs
consecutively to any sentence of incarceration and that if the Court imposes a term of supervised
release, the United States Probation Office will supervise him during that term and will require that
he make regular reports and visits to its office. The defendant understands that a violation of the
conditions of supervised release may subject him to an additional period of incarceration up to the
maximum term of years imposed as supervised release.

4, The defendant is aware that the Court will consider the United States Sentencing

Guidelines [{U.S.S.G.] in determining the appropriate sentence and that the sentence will be without
parole The defendant is further aware that the Court has not yet determined the sentence. that any

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estimate from any source, including defense counsel, of the likely sentence is a prediction rather than
a promise, and that the Court has the final discretion to impose any sentence up to the statutory

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maximum for each count. The defendant further understands that no recommendations or agreements
by the United States are binding upon the Court..

5. With regard to the Sentencing Guidelines, the defendant and the United States,
pursuant to Fed. R. Crim. P. 11(c)(1)(B), stipulate and agree to recommend to the Court as follows:

a.. The offense level for the subject offense is as follows (using the Guidelines
Manual in effect prior to November 1, 2001):

Count One:
Base Offense Level [U.S.8.G, § 2F1.1(a)]: 6
Specific Characteristics:

, More than $200,000 but less than $350,000

(U.S.8.G. § 2B1.1¢b)(1)(F)]: +8
Adjusted Offense Level: 14
b. Provided that the defendant acknowledges to the government, the Probation

Office, and the Court the nature and extent of all relevant criminal conduct, the government
will recommend a two-level reduction in offense level pursuant to U.S.S.G, § 3E1.1(b)(2).
Provided that the defendant has assisted authorities in the investigation or prosecution of his
own misconduct by timely notifying authorities of his intention to enter a plea of guilty, the
government will move for an additional one-level reduction pursuant to U.S.S.G. § 3E1.1(b).
The United States will determine in its sole discretion whether to move for the additional
one-level reduction.

c. The defendant and the United States agree that the sentence will be within
“the applicable guideline range” (U.S.S.G. § 5C1.1) and that neither party will seek a
departure from that range, unless the Government should move for a downward departure
based upon substantial assistance, pursuant to U.S.S.G. § SK1.1.

6. The defendant agrees to pay full restitution, regardless of the resulting loss amount,
which restitution will be included in the Court’s Order of Judgment. The defendant agrees that such

restitution will include all victims directly or indirectly harmed by the defendant’s “relevant
conduct,” including conduct pertaining to any dismissed counts or uncharged conduct, as defined
by U.S.S.G. § 1B1.3, regardless of whether such conduct constitutes an “offense” under 18 U.S.C.

§§ 3663 or 3663A. The defendant consents to a civil judgment in state or federal court concerning

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a claim filed by a “victim” as defined in 18 U.S.C. §§ 3663(a)(2) and 3663A(a)(2). The defendant
understands that with a Judgment and Commitment Order that requires the payment of testitution,
a lien will be filed on his property. Defendant also understands that his obligation to make
restitution shall last for twenty years after the entry of the judgment, release from imprisonment, or
until his death. 18 U.S.C. § 3613.

7. The parties agree that the Court shall set the amount of fine from the Fine Table in
U.S.S.G, § 5E1.2.

8. If more than $500.00 in restitution, fines, and/or assessment is owed to the United
States government, a lien will be filed. The defendant understands that if a lien is filed against his
property, his obligation to pay restitution shall last for twenty years after any imprisonment ordered
or until his death. 18 U.S.C. § 3613.

9, The defendant hereby agrees to pay the total amount required for assessment ($100)
to the Clerk, United States District Court, before 5:00 p.m. on the date of pleading guilty. The
defendant further agrees to participate in the Inmate Financial Responsibility Program to the extent
necessary to fulfill all financial obligations due and owing under this agreement and the law.

10. The defendant agrees to reimburse the United States for the cost of court-appointed
counsel and agrees that the Court may include such reimbursement in the Order of Judgment.

Ill. Procedure

ll. The defendant agrees that a duly-qualified federal Magistrate Judge may conduct the
hearing required by Fed. R. Crim. P. 11.

12. With the Court’s permission, the factual basis, as required by Fed. R. Crim. P.
11(b)(3), may be deferred until the time of sentencing. The defendant stipulates that there is a factual
basis for the plea of guilty and that the Court may use the offense conduct set out in the Presentence
Report, except any facts to which the defendant has objected, to establish a factual basis for the
defendant’s plea.

IV. Waivers

13. The defendant understands and agrees that if he should fail to specifically perform
or to fulfill completely each and every one of his obligations under this Plea Agreement, then the
United States will be relieved of its obligations under the agreement, but the defendant will not be
allowed to withdraw his guilty plea.

14, The defendant is aware that the law provides certain limited rights to withdraw a plea

of guilty. The defendant has discussed these rights with defense counsel and knowingly and
expressly waives any right to withdraw the plea once the District Court has accepted it.

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15. The defendant acknowledges that Federal Rule of Criminal Procedure 11(f) and
Federal Rule of Evidence 410 are rules which ordinarily limit the admissibility of statements made
by a defendant in the course of plea discussions or plea proceedings if a guilty plea is later
withdrawn. The defendant knowingly and voluntarily waives the rights which arise under these
Rules. As a result of this waiver, he understands and agrees that any statements which are made in
the course of his guilty plea or in connection with his cooperation pursuant to this plea agreement
will be admissible against him for any purpose in any criminal or civil proceeding if his guilty plea
is subsequently withdrawn.

16. | Thedefendant understands and agrees that by pleading guilty, he is expressly waiving
the following rights:

to be tried by a jury;

to be assisted by an attorney at trial;

to confront and cross-examine witnesses; and,
not to be compelled to incriminate himself.

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17. Defendant and defendant’s counsel warrant that they have discussed: (1) defendant's
rights pursuant to 18 U.S.C. § 3742, 28 U.S.C. § 2255, and similar authorities to contest a conviction
and/or sentence through an appeal or post-conviction after entering into a plea agreement; (2)
whether or not there are potential issues which might be relevant to an appeal or post-conviction
action; and (3) the possible impact of any such issue on the desirability to the defendant of entering
into this plea agreement.

Defendant, in exchange for the concessions made by the United States in this plea agreement,
waives all such rights to contest the conviction and/or the sentence except for: (1) claims of
ineffective assistance of counsel; (2) prosecutorial misconduct; or (3) the sentence, but only to the
extent defendant contests the sentence on the basis that one or more findings on guideline issues
were inconsistent with the explicit stipulations contained in any paragraph in the plea agreement filed
herein, or on the basis of an unanticipated issue that arises during the sentencing hearing and which
the District Judge finds and certifies to be of such an unusual nature as to require review by the
Fourth Circuit Court of Appeals.

Also, in exchange for the concessions made by the United States, defendant agrees that the
United States preserves all its rights and duties with respect to appeal as set forth in 18 U.S.C. §
3742(b), while the defendant waives. all rights to appeal or collaterally attack the sentence of
conviction with the exceptions set forth above. This agreement does not limit the United States in
its comments in or responses to any post-conviction matters.

18. The defendant waives all rights, whether asserted directly or by a representative, to

request or to receive from any department or agency of the United States any records pertaining to
the investigation or prosecution of this case, including without limitation any records that may be

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sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C.
§ 552a.

19. The defendant stipulates that any sentence that falls within the applicable guideline
tange as determined by the United States Probation Office and pursuant to any departures from the
applicable range as recommended by the government is per se reasonable. The defendant waives
any right to contest such a sentence on the basis that the Court’s imposition of such a sentence was
unreasonabie or an abuse of its discretion.

Y. Assistance to Government

20. If requested by the United States, but only if so requested, the defendant agrees to
cooperate with the United States, including but not limited to the following:

a. The defendant will provide truthful information about the subject charges and
about any other criminal activity within the defendant’s knowledge to any government agent
or agency that the United States designates.

b. The defendant will testify truthfully in any trial, hearing, or grand jury
proceeding, including, but not limited to, testimony against any co-defendants, as the United
States designates.

c. The defendant will truthfully disclose all monies, negotiable instruments,
securities, or other things of value that are proceeds of or have been involved in, or have been
used or intended to be used to facilitate a violation of state or federal law. The defendant
further agrees to voluntarily forfeit said property to the United States.

d. In the event that the defendant’s cooperation includes testifying, the defendant
hereby waives payment of any witness fees or expenses to which he may be otherwise
entitled pursuant to 28 U.S.C. § 1821.

e. The defendant understands that the United States desires only truthful and
accurate information and testimony and, in fact, that knowingly giving false information or
testimony can be prosecuted as an additional criminal offense.

Further, if the defendant knowingly gives false testimony, the United States will be
telieved of its obligations under this Plea Agreement, except that the defendant’s plea of
guilty and the resulting guilty verdict will stand.

f. The defendant will not violate any federal, state, or local law, or any order of
any court, including any conditions of pretrial, pre-sentence, or post-sentence release.

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Nothing that the defendant discloses pursuant to this Plea Agreement will be used
against him in any other criminal proceeding, subject to the following exceptions:

1. the United States or other jurisdiction may use any and all relevant
information regarding crimes of violence;

2. the United States may use any and all information as necessary in a
prosecution for perjury, or im any trial for impeachment or rebuttal;

3, if the defendant withdraws his plea of guilty, the United States may
use any and all disclosures in any subsequent trials or criminal proceedings;

4, if the defendant violates any of the terms of this Plea Agreement,
including the obligation to provide truthful information, then the United States may
use any and all disclosures in subsequent trials or criminal proceedings; and,

5. the United States may make indirect use of any information that the
defendant provides, including investigative leads or other witnesses.

g. The defendant’s obligation under this section is a continuing one, and will
continue after sentencing until all investigations and/or prosecutions to which the defendant’s
cooperation may be relevant have been completed. This provision is a material condition of
this Plea Agreement and of all benefits that accrue to the defendant pursuant to this
agreement,

In the interests of fulfilling all obligations under this section, the defendant agrees to
waive all rights under Chapters 213 and 208 of Title 18 until such time as the United States
determines that all relevant investigations and/or prosecutions have been completed.

h. The defendant fully understands that any breach of this agreement, including
but not limited to withholding information, misleading the United States or any law
enforcement officer, or failing to testify truthfully at any trial, grand jury, or other judicial
proceeding, will allow the government, in its sole discretion, to withdraw from its obligations
under this Plea Agreement. In such event, the United States will be free to proceed on any
properly-filed pending, superseding, or additional charges, including any charges dismissed
pursuant to this agreement.

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21, When and if the defendant assists the government as described above:

a. The United States, in its sole discretion, will determine whether said
assistance has been substantial.

b. Upon a determination that the defendant has rendered substantial assistance,
the government may make a motion pursuant to U.S.S.G. § SKI1.1 for imposition of a
sentence below the applicable Sentencing Guidelines. The United States may also, within
its sole discretion, move the Court pursuant to 18 U.S.C. § 3553(e) to impose a sentence
below any applicable statutory mandatory minimum.

The defendant recognizes that the Court cannot depart below the Sentencing
Guidelines for substantial assistance [U.S.S.G. § 5K1.1] absent a motion from the United
States. The defendant further recognizes that, even if the United States makes a
recommendation pursuant to U.S.S.G. § 5K1.1, the Court cannot depart below the statutory
minimum unless the United States also includes a specific recommendation pursuant to 18
U.S.C. § 3553(e).

c. Regardless of the nature and extent of any substantial assistance that the
defendant renders, the United States will not move for a downward departure if the defendant
also knowingly furnishes information that is materially false.

d. Any determination that the defendant has failed to provide substantial
assistance or has knowingly provided false information is within the sole discretion of the
United States, and the defendant waives all objections and tights ofappeal or collateral attack
of such a determination.

e. The defendant understands that if the United States makes a motion for
downward departure, the motion is not binding on the District Court. The Court will
determine in its discretion whether to grant or deny such departure and the extent of the
departure,

 

VI. Conclusion

22. The defendant understands that if he breaches this Plea Agreement, or violates any
federal, state or local law, or any order of any court, including any condition of pre-trial or pre-
sentence, or post-sentence release, the United States will be relieved of its obligations under this Plea
Agreement, but the defendant will not be allowed to withdraw his guilty plea, The United States will
be free to proceed on any properly-filed dismissed, pending, superseding, or additional charges.

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23. There are no agreements, representations, or understandings between the
parties in this case, other than those explicitly set forth in this Plea Agreement and none will
be entered into unless executed in writing and signed by all parties.

SO AGREED:

GRETCHEN C. F. SHAPPERT, UNITED STATES ATTORNEY

 

DATED: Yo of. OG

   

HARD LEE EDWARDS
Assistant United States Attorney

VE, C UuAeiser DATED: 1B-O8

PETER C, ANDERSON, Attorney for Defendant

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NALD G. FARROW, Defendant

 

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